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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



 CROW INDIAN TRIBE; et al.,

                 Plaintiffs,                     (Consolidated with Case Nos.
                                                    CV 17-117-M-DLC,
        vs.                                         CV 17-118-M-DLC,
                                                    CV 17-119-M-DLC,
 UNITED STATES OF AMERICA; et al.,                  CV 17-123-M-DLC,
                                                   and CV 18-16-M-DLC)
                 Federal-Defendants,

      and

 STATE OF WYOMING; et al.;

                 Defendant-Intervenors.

      On February 5, 2018, Aland v. United States Department of the Interior et

al., CV 18-16-M-DLC, was transferred into this District from the United States

District Court Northern District of Illinois, Eastern Division. The case was

assigned to the Honorable Donald W. Molloy. On February 28, 2018, the Court

granted Defendants' motion to consolidate in CV 18-16-M-DLC with five

consolidated cases currently pending before this Court. On March 2, 2018, the

case was reassigned to the undersigned.

      Plaintiff Robert H. Aland ("Aland") subsequently filed a motion for


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clarification. (Doc. 121.) Aland is proceeding prose and seeks clarification

whether he is subject to this Court's scheduling order (Doc. 40), or the scheduling

order issued by the U.S. District Court for the Northern District of Illinois. As a

result of transfer and consolidation, Aland is now subject to this Court's

Scheduling Order (Doc. 40). However, because the conflict in the deadlines may

have prejudiced Aland, the Court will consider modifying the deadlines at the time

of the March 13, 2018 hearing.

      The Court will allow Aland to appear telephonically at the March 13, 2018

hearing, and is directed to contact the clerk of court to set up his telephonic

appearance.

      Accordingly, IT IS ORDERED that Plaintiff Aland may appear

telephonically at the March 13, 2018 hearing.

      DATED this     1"2..~ay ofMarch, 2018.



                                        Dana L. Christensen, Chief Ju ge
                                        United States District Court




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